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                   IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF HAWAI`I



  WENDELL TATSUMI KOGA,                    CIVIL NO. 11-00123 DKW-BMK
  individually, as attorney in fact for
  Ichiyo Eko Koga, and as trustee of the   ORDER GRANTING WITH
  William Tsugio Koga and Ichiyo Eko       CONDITIONS PLAINTIFF’S
  Koga Revocable Living Trust, dated       MOTION FOR PARTIAL SUMMARY
  February 4, 1991,
                                           JUDGMENT AS TO THE
              Plaintiff,                   TILA RESCISSION CLAIM

        vs.

  EASTERN SAVINGS BANK, FSB,


            Defendant.
  _______________________________
  EASTERN SAVINGS BANK, FSB,

              Third-Party
              Plaintiff,

        vs.

  WILLIAM J. VROOM; ALII
  FINANCIAL CORPORATION;
  PRIORITY ONE DEBT RELIEF
  SERVICES, LLC; JANICE M. K.
  GANITANO; and SONIA M. EVANS,

              Third-Party
              Defendants.
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   ORDER GRANTING WITH CONDITIONS PLAINTIFF’S MOTION FOR
           PARTIAL SUMMARY JUDGMENT AS TO THE
                  TILA RESCISSION CLAIM

                                 INTRODUCTION

              Before the Court is Plaintiff Wendell Tatsumi Koga’s (“Wendell

  Koga”), individually, as attorney in fact for Ichiyo Eko Koga (“Ms. Koga”), and as

  trustee of the William Tsugio Koga and Ichiyo Eko Koga Revocable Living Trust

  (collectively, “Plaintiff”), Motion for Partial Summary Judgment as to the Truth in

  Lending Act (“TILA”) Rescission Claim. Defendant Eastern Savings Bank, FSB

  (“ESB”) opposed the Motion. A hearing was held on December 6, 2013. After

  careful consideration of the supporting and opposing memoranda, the

  accompanying documentation, and the relevant legal authority, the Motion is

  hereby GRANTED as to Plaintiff’s rescission claim under Count I, although

  Plaintiff must tender $189,837.87 to ESB as a precondition of the rescission.

                                  BACKGROUND

              The facts leading to this dispute were previously discussed by the

  Court in its Order Granting in Part and Denying in Part Defendant Eastern Savings

  Bank, FSB’s Motion for Summary Judgment as to Counts I–V of Plaintiff’s First

  Amended Complaint and can be referenced there. Dkt. No. 146, 2013 WL

  4482426 (D. Haw. August 19, 2013) (“August 19 Order”).



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               As a result of the Court’s August 19 Order, Plaintiff’s only surviving

  claims are the rescission portion of the TILA claim (“rescission claim”)(Count I)

  and the claim challenging Ms. Koga’s competence to enter into the loan agreement

  with ESB (Count VI). Plaintiff now moves for summary judgment as to the

  rescission claim.

                              STANDARD OF REVIEW

               A party is entitled to summary judgment “if the movant shows that

  there is no genuine dispute as to any material fact and the movant is entitled to

  judgment as a matter of law.” Fed. R. Civ. P. 56(a). “A fact is ‘material’ when,

  under the governing substantive law, it could affect the outcome of the case. A

  ‘genuine issue’ of material fact arises if ‘the evidence is such that a reasonable jury

  could return a verdict for the nonmoving party.’” Thrifty Oil Co. v. Bank of Am.

  Nat’l Trust & Sav. Ass’n, 322 F.3d 1039, 1046 (9th Cir. 2003) (quoting Anderson

  v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986)).

               When evaluating a motion for summary judgment, the court must

  construe all evidence and reasonable inferences drawn therefrom in the light most

  favorable to the nonmoving party. See T.W. Elec. Serv., Inc. v. Pac. Elec.

  Contractors Ass’n, 809 F.2d 626, 630–31 (9th Cir. 1987). Thus, the moving party

  has the burden of persuading the court as to the absence of a genuine issue of

  material fact. Celotex, 477 U.S. at 323. If the moving party satisfies its burden,


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  the nonmoving party must set forth “‘significant probative evidence’” in support of

  its position. T.W. Elec. Serv., 809 F.2d at 630 (quoting First Nat’l Bank v. Cities

  Serv. Co., 391 U.S. 253, 290 (1968)). “A party asserting that a fact cannot be or is

  genuinely disputed must support the assertion,” and can do so by either “citing to

  particular parts of materials in the record” or by “showing that the materials cited

  do not establish the absence or presence of a genuine dispute, or that an adverse

  party cannot produce admissible evidence to support the fact.” Fed. R. Civ. P.

  56(c)(1).

                                     DISCUSSION

               This Court analyzes (1) whether Plaintiff (regardless of any equitable

  conditions the court may impose on rescission) has a right to rescind the loan; and

  (2) if Plaintiff has a right to rescind, what equitable conditions should be placed on

  that rescission. The Court addresses these two issues in turn and concludes that

  while Plaintiff has a right to rescind, an equitable condition of that rescission

  requires Plaintiff to first tender to ESB $189,837.87.

  I.    Plaintiff’s Right to Rescind

               Under 15 U.S.C. § 1635(a), a borrower has a right to rescind a

  consumer credit transaction that provides for a security interest in any property

  used as the borrower’s principal dwelling. The borrower has “until midnight of the

  third business day following consummation of the transaction or the delivery of the


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  information and rescission forms” to exercise that right. Id. However, when a

  lender fails to disclose to a borrower his or her right to rescind, or fails to provide

  material disclosures, the duration of the borrower’s right to rescind extends for

  three years from the date the transaction was consummated. 12 C.F.R.

  § 226.23(a)(3); Jackson v. Grant, 890 F.2d 118, 120 (9th Cir. 1989). TILA defines

  “material disclosures” as disclosures of the annual percentage rate, the method of

  determining the finance charge and the balance upon which a finance charge will

  be imposed, the amount of the finance charge, the amount to be financed, the total

  of all payments, the number and amount of payments, the due dates or periods of

  payments scheduled to repay the indebtedness, and the disclosures required by

  Section 1639(a). 15 U.S.C. § 1602(u).

               Even a purely technical violation of TILA’s disclosure provisions,

  such as the failure to provide a borrower with two copies of the notice that include

  the correct date that the rescission period expires, extends the duration of the right

  to rescind for three years. See Semar v. Platte Valley Fed. Sav. & Loan Ass’n, 791

  F.2d 699, 703–05 (9th Cir. 1986). TILA requires that loan documents state

  specifically the last date on which a borrower may rescind the loan agreement

  without penalty. Id. at 701; 15 U.S.C. § 1635(a); 12 C.F.R. § 226.23(b). If, as

  here, the lending institution fails to provide the Notice of a Right to Rescind or

  Notice of Right to Cancel altogether, the borrower may rescind the loan within


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  three years after it was consummated. Semar, 791 F.2d at 701–702; see 12 C.F.R.

  § 226.23(a)(3) (“If the required notice or material disclosures are not delivered, the

  right to rescind shall expire 3 years after consummation, upon transfer of all of the

  consumer's interest in the property, or upon sale of the property, whichever occurs

  first.”); see also 15 U.S.C. § 1635(f) (“An obligor’s right of rescission shall expire

  three years after the date of consummation of the transaction.”).

               As a threshold matter, there is no dispute, and the parties have

  stipulated, that ESB never provided Plaintiff with a Notice of Right to Cancel or a

  Notice of Right to Rescind. Cashman Dep. 7:25–8:3; ESB’s CSF ¶ 8. These

  failures were violations of TILA. See 12 C.F.R. § 226.23(a)(2). Moreover, there is

  no dispute that Plaintiff provided a notice of rescission to ESB within the three-

  year time limit prescribed by the TILA regulations. Decl. of John Paer (“Paer

  Decl.”), Ex. D (Feb. 23, 2011 Rescission Letter); see 12 C.F.R. § 226.23(a)(3).

  Accordingly, ESB’s arguments against Plaintiff’s right to rescind are solely

  equitable in nature. ESB asserts that the circumstances of the loan transaction, in

  particular the falsified documents, counsel against permitting rescission.

               In its briefing and at oral argument, ESB suggests that the Washington

  Court of Appeal’s decision in Conrad v. Smith, 712 P.2d 866 (Wash App. 1986),

  supports the notion that Plaintiff should not be allowed to rescind here. The Court,

  however, is not persuaded by Conrad. In that case, the Washington Court of


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  Appeals determined that the loan in question was made for commercial purposes

  and that, consequently, TILA did not even apply. Id. at 869–870. This Court has

  already resolved the question of the applicability of TILA to the loan in the instant

  case in its August 19 Order. The Court agrees with Conrad to the extent that it

  suggests that the conditions of rescission are subject to the Court’s equitable

  discretion to consider all the circumstances, “including the nature of the violations

  and the borrower’s ability to repay the proceeds.” Yamamoto v. Bank of New York,

  329 F.3d 1167, 1173 (9th Cir. 2003). Those considerations are discussed below.

  However, as an initial matter, the Court concludes that ESB’s undisputed TILA

  violations and Plaintiff’s Notice of Rescission triggered a right to rescind that is

  subject only to equitable conditions discussed below.1

  II.    Equitable Conditions of Rescission

                 In considering equitable conditions on Plaintiff’s rescission, the Court

  determines (A) whether Plaintiff is required to tender the loan proceeds in order to

  rescind; and (B) if tender is required, the appropriate amount of the tender. The
  1
   ESB also argues that Plaintiff does not have a right to rescind because Plaintiff failed to
  affirmatively plead the ability to tender the loan amount. Opp. at 12–13. However, Ex. B
  (February 23, 2011 Rescission Letter) to the First Amended Complaint (“FAC”), which was
  referenced and incorporated into the FAC, FAC ¶ 23, provided adequate notice to ESB of
  Plaintiff’s ability to tender as part of its rescission claim. FAC Ex. B at 2 (“[Plaintiff] hereby
  offers to tender the appropriate rescission amount upon the creditor’s performance of its statutory
  duties under the Truth in Lending Act.”); Fed. R. Civ. P 10(c). This satisfies the notice pleading
  requirements of Fed. R. Civ. P. 8 and this is not a case where the debtor did not allege at all the
  ability to tender the proceeds of the loan. See e.g., Hogan v. NW Trust Servs., Inc., 441 Fed.
  Appx. 490 (9th Cir. 2011); Garza v. Am. Home Mortgage, 2009 WL 188604, at *5 (E.D. Cal.
  Jan. 27, 2009) (dismissing a rescission claim because “[t]he complaint fails to hint” that the
  plaintiff could tender the loan proceeds).
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  Court concludes that Plaintiff is required to tender the loan amount to ESB as a

  precondition to rescission and that the appropriate amount of the tender is

  $189,837.87.

        A.     Condition of Tender

               Once a transaction is rescinded under TILA, one of the procedural

  effects of rescission is that “the consumer shall tender the money or property to the

  creditor . . . .” 12 C.F.R. § 226.23(d)(3); see Semar, 791 F.2d at 705 (“On

  rescission, the security interest is dissolved and the borrower returns ‘the

  property’—in this case the loan proceeds—to the lender.” (quoting 15 U.S.C.

  § 1635(b)). However, the procedural sequence may be modified by the court:

               As rescission under § 1635(b) is an on-going process consisting
               of a number of steps, there is no reason why a court that may
               alter the sequence of procedures after deciding that rescission is
               warranted, may not do so before deciding that rescission is
               warranted when it finds that, assuming grounds for rescission
               exist, rescission still could not be enforced because the
               borrower cannot comply with the borrower’s rescission
               obligations no matter what. Such a decision lies within the
               court’s equitable discretion, taking into consideration all the
               circumstances including the nature of the violations and the
               borrower’s ability to repay the proceeds.

  Yamamoto, 329 F.3d at 1173; 12 C.F.R. § 226.23(d)(4); LaGrone v. Johnson, 534

  F.2d 1360, 1362 (9th Cir. 1974) (holding that rescission should be conditioned on

  the borrower’s tender of loan funds first because of non-egregious TILA violations

  and because the equities favored the lender).


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               Plaintiff contends that tender should not be required for rescission in

  this case because Ms. Koga herself never actually received any of the proceeds of

  the loan and because ESB’s TILA violations were egregious. ESB counters that

  tender should be required because Ms. Koga’s agent received the proceeds of the

  loan and because ESB’s TILA violations were technical and not egregious. The

  Court concludes that there is no genuine dispute that Mr. Vroom, an agent of Ms.

  Koga, received the proceeds of the loan. Further, ESB’s TILA violations, though

  substantial, were based on its mistaken belief that the transaction was commercial,

  and were therefore not egregious. Consequently, tender is required in order to

  effectuate any rescission.

               The Court concludes that for purposes of considering the equities of

  requiring tender prior to rescission, Ms. Koga received the proceeds of the loan via

  her agent Mr. Vroom. There is no dispute that Ms. Koga initiated the loan

  transaction between ESB and herself, in her capacity as trustee of her own

  revocable living trust. She represented to ESB that she wanted to take out the loan

  “to purchase a condo for her and her daughter (Janice Ganitano) to live in, [and]

  also . . . to gift 200k to her grandchild who is settling on a home in Washington

  state within the next 30 days.” Paer Decl. Ex. B (ESB000863). There is also no

  dispute that a few weeks after these initial discussions with ESB, Ms. Koga (in her

  capacity as trustee) signed a promissory note, mortgage, assignment of rents and


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  security agreement, assignment of leases, rents, and profits, and a universal

  residential loan application.

                Accordingly, Ms. Koga was very much aware of the circumstances of

  her loan and naturally would have expected the proceeds of the loan to be in her

  custody or control within a brief period of time after the documentation was

  finalized. However, following ESB’s payment of the loan proceeds into escrow,

  and the subsequent distribution of those escrow proceeds to Mr. Vroom, there is no

  evidence that Plaintiff or Ms. Koga ever contacted ESB to inquire what happened

  to the loan funds—evidence that seems necessary here to indicate that the funds

  were not sent to where Ms. Koga wanted them to go. Instead, once payments

  stopped on the loan,2 ESB began sending loan default notices to Plaintiff at least as

  early as 2009. William Koga Dep. 151:15–153:9. Even then, it was not until ESB

  sent a foreclosure notice in 2011 that Plaintiff, for the first time, inquired into the

  details of the loan and sought representation. Id. at 171:7–172:12.

                Thus, the circumstances surrounding the loan transaction simply do

  not support Plaintiff’s argument here that Ms. Koga received no proceeds of the

  loan. Had Mr. Vroom not been Ms. Koga’s agent to receive the funds, any

  reasonable person would have inquired with ESB as to the whereabouts of the loan


  2
   The undisputed fact that Mr. Vroom made some payments on the loan only furthers the notion
  that the money went to where Ms. Koga wanted it to go. There is thus no validity to Plaintiff’s
  argument that Ms. Koga did not receive any proceeds of the loan.
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  proceeds. That did not happen here and it was, in fact, several years before

  Plaintiff, triggered by ESB’s foreclosure notices, began looking into the loan that

  Ms. Koga had entered into.3

                The Court also concludes that ESB’s TILA violations do not rise to

  the level of eliminating the requirement of tender prior to rescission. ESB, though

  plainly mistaken as to the nature of the transaction (as discussed in the Court’s

  August 19 Order), treated the loan as commercial, and, thus, from the beginning

  had no understanding of the need to comply with TILA. This mistake resulted in

  the TILA violations warranting rescission here. But the Court does not agree with

  Plaintiff that these violations were so “egregious” that doing away with a

  requirement of tender would be equitable. See, e.g., Ljepava v. M.L.S.C. Prop.,

  Inc., 511 F.2d 935, 941 (9th Cir. 1975) (finding violations “egregious,” but still

  upholding a requirement of repayment, where the disclosure statement understated

  the annual percentage rate by almost half, did not explain how charges for late

  payments were to be calculated, and failed to explain each element of the finance

  charge).

                In considering and balancing the equities of the transaction, the Court

  modifies the sequence of rescission events pursuant to 12 C.F.R. § 226.23(d)(4)


  3
  The Court determines that the alleged forgery of documents has no bearing on whether Ms.
  Koga actually received the proceeds of the loan from ESB because there is no dispute that Ms.
  Koga did in fact initiate the loan and filled out a significant portion of the loan paperwork.
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  and imposes a condition on Plaintiff to tender the loan proceeds prior to rescission

  of the loan transaction. Yamamoto, 329 F.3d at 1172–73. The specific tender

  amount is discussed below.

        B.     Tender Amount

               Initially, the Court notes that Plaintiff has sufficiently represented that

  he has the ability to pay any amount that the Court might reasonably require for

  tender as a condition of rescission:

               Plaintiff has the ability to fulfill any tender requirement as our
               home is presently worth more than $500,000.00. In addition,
               we have approximately $200,000.00 in cash reserves to pay a
               tender amount, though that money should be used to care for
               my mother.

  Decl. of Wendell Tatsumi Koga ¶ 15. Defendants counter that this is insufficient

  to show an ability to tender the loan proceeds. However, having modified the

  sequence of rescission events (as discussed above) and now requiring tender by

  Plaintiff prior to rescission, the need for substantial proof of an ability to tender is

  minimal. If Plaintiff is unable to actually tender the loan amount, there will be no

  rescission. As such, the Court finds that Plaintiff’s representations of an ability to

  tender are sufficient.

               As to the appropriate amount of tender, the parties do not differ

  dramatically. Plaintiff argues that the proper amount to tender is $156,348.06,

  while Defendants assert that the correct amount is $189,837.87. Both parties cite


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  to the Ninth Circuit’s decision in Semar for the formula to calculate the tender

  amount for rescission: “the loan amount less all charges in the loan agreement.”

  791 F.2d at 705. The parties do not dispute the following initial calculations of the

  tender amount, which include the payments made by Mr. Vroom on the loan:

                      Principal Loan amount           $275,000.00
                      Principal Paid                   ($2,883.46)
                      Interest Paid                   ($71,232.55)
                      Late Charges Paid                ($6,898.09)
                      Other Charges Paid                  ($45.00)

                      Interim Amount Owed             $193,940.90


  Motion at 14; Opp. at 39–40. The amount in dispute (i.e., whether it should be

  excluded from the tender amount) is the $37,592.84 (“settlement amount”)

  reflected in the March 11, 2008 HUD-1 Settlement Statement. Paer Decl. Ex. F

  (March 11, 2008 HUD-1 Settlement Statement) at TG0000155–0000156 (listing

  and breaking down the $37,592.84 in settlement charges “paid from borrower’s

  funds at settlement”). Plaintiff argues that this amount should be deducted in full

  from the $193,940.90 interim figure from the table above, creating a final tender

  amount of $156,348.06. ESB, however, contends that not all of the settlement

  charges are directly associated with the “loan agreement” and would therefore be

  forbidden by the formula laid out by Semar. ESB posits that some of the charges

  from the settlement statement should not be subtracted in calculating the tender
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  amount for rescission. Those amounts are discussed below, and the Court agrees

  with ESB that the final amount of tender should be $189,837.87.

               ESB argues that six of the items in the settlement statement should not

  be deducted. ESB concedes, and thus there is no dispute, that 17 of the items from

  the settlement statement (that ESB lists in the chart on pages 36–37 of its

  Memorandum in Opposition) should be subtracted out of the $193,940.90 interim

  amount owed from the table above. Applying those undisputed calculations, the

  updated amount owed is the following:

                  Interim Amount Owed (taken
                  from table above)                       $193,940.90
                  Loan Discount                            ($5,500.00)
                  Appraisal                                  ($668.27)
                  Credit Report                               ($11.05)
                  Doc Prep Fee                               ($500.00)
                  Tax Service Fee                             ($67.00)
                  Mortgage Broker Fee                      ($6,155.42)
                  Courier Fee                                  ($5.00)
                  Review Fee                                 ($250.00)
                  Underwriting Fee                           ($750.00)
                  Loan Processing Fee                        ($350.00)
                  Flood Certification Fee                     ($16.00)
                  Pre-Paid Interest                        ($2,182.70)
                  Escrow Fee to TGES                         ($491.20)
                  Notary Fee to TGES                          ($10.00)
                  Title Insurance Premium                  ($1,271.60)
                  Recording Charges                          ($126.00)
                  Mailing Fee to TGES                         ($52.36)
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                  Updated Amount Owed                     $175,534.30


               What remains are six charges from the settlement statement that create

  the discrepancy in the tender amount between Plaintiff and ESB. The largest

  single amount is $17,322.00 for Escrow/Holdback Interest Reserve. Paer Decl. Ex.

  F (March 11, 2008 HUD-1 Settlement Statement) at TG0000156. The Court

  concludes that this amount should not be deducted out of the $175,534.30 amount

  because it was already accounted for in the initial subtraction of $71,232.55 above

  for interest paid. Decl. of Thomas J. Kennedy (“Kennedy Decl.”) ¶ 11. Plaintiff

  has provided no evidence or argument to rebut this point. Accordingly, the tender

  remains at $175,534.30.

               Similarly, the five remaining items from the settlement statement, all

  of which are payments made by ESB for insurance premiums or property taxes,

  should not be deducted from the tender amount. See Paer Decl. Ex. F (March 11,

  2008 HUD-1 Settlement Statement) at TG0000156 (listing amounts for an escrow

  hazard insurance premium, a regular hazard insurance premium, an escrow flood

  insurance premium, a regular flood insurance premium, and county property taxes

  while in escrow). In rescinding a transaction and calculating the amount to tender,

  “TILA specifically states that the borrower ‘is not liable for any finance or other

  charge.’” Semar, 791 F.2d at 705 (quoting 15 U.S.C. § 1635(b)). Specifically,

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  insurance premiums or other charges “for any guarantee or insurance protecting the

  creditor against the obligor’s default or other credit loss” are included in the

  definition of a finance charge and should thus be deducted from a tender amount.

  However, insurance premiums for the benefit and protection of the borrower are

  not included in the definition of a finance charge and are not a loan expense to be

  deducted under the formula set out in Semar. Neither are property taxes.

               Defendants argue, and Plaintiff does not counter, that these insurance

  premiums, and the payment by ESB of county property taxes, would have been the

  responsibility of Plaintiff had the loan transaction not occurred. The Court agrees

  that these insurance premiums and property taxes were the Plaintiff’s payment

  obligations regardless of any loan transaction. Accordingly, because “[t]he

  equitable goal of rescission under TILA is to restore the parties to ‘status quo

  ante,’” Am. Mortg. Network, Inc. v. Morales, 2012 WL 1020191, at *4 (C.D. Cal.

  Mar. 26, 2012), these amounts should also not be deducted from the tender

  amount, which thus remains at $175,534.30.

               Finally, ESB asserts that over the course of the loan, it paid a total of

  $23,550.43 in real property taxes and insurance premiums (insurance that was for

  the protection of Plaintiff and would have existed regardless of the loan), of which

  $9,246.86 was reimbursed from escrow funds to ESB, leaving an unreimbursed

  balance of $14,303.57 in real property taxes and insurance premiums that ESB


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  paid on behalf of Plaintiff. Kennedy Decl. ¶ 10. Similar to the insurance

  premiums and county property taxes discussed in the preceding paragraphs, these

  payments would have been made by Plaintiff in the absence of the loan transaction.

  Plaintiff has not brought forth any evidence or argument to contradict this.

  Consequently, $14,303.57 is added in to the $175,534.30 amount, bringing the

  final amount to be tendered to $189,837.87.

               Plaintiff requests that the Court allow a reasonable amount of time for

  Plaintiff to tender the required amount. The Court consequently grants Plaintiff

  ninety (90) days from the date of this Order to repay the tender amount of

  $189,837.87 to ESB. The loan shall not be rescinded, and ESB shall not be

  required to release its security interest in the property, until Plaintiff has actually

  tendered repayment. See Riopta v. Amresco Res. Mortg. Corp., 101 F. Supp. 2d

  1326, 1336 (D. Haw. 1999).

                                      CONCLUSION

               The Court hereby GRANTS WITH CONDITIONS Plaintiff’s Motion

  for Partial Summary Judgment as to the TILA Rescission Claim. Plaintiff is

  entitled to summary judgment on its rescission claim, but must first tender




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  $189,837.87 to ESB, which tender should be made within ninety (90) days of the

  date of this Order.

               IT IS SO ORDERED.

               DATED: HONOLULU, HAWAI‘I, January 10, 2014.




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  WITH CONDITIONS PLAINTIFF’S MOTION FOR PARTIAL SUMMARY
  JUDGMENT AS TO THE TILA RESCISSION CLAIM




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